      Case 1:10-cr-00131-LJO Document 237 Filed 03/10/15 Page 1 of 2
 1
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 5

 6   ATTORNEY FOR Defendant,
     JOSEPH NOLAN
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                 ******
11   UNITED STATES OF AMERICA,                           Case No.: 1:10-CR-00131-AWI
12
                    Plaintiff,                           STIPULATION AND ORDER TO
13                                                       CONTINUE SENTENCING
            v.
14                                                       Date: March 30, 2015
     JOSEPH NOLAN,
15                                                       Time: 10:00 am
                    Defendant.                           Courtroom: 2
16                                                       Hon. Anthony W. Ishii

17          Defendant, JOSEPH NOLAN, by and through his attorney of record, Anthony P.

18   Capozzi and the United States Attorney by and through their attorney of record, Karen A.

19   Escobar, hereby stipulate as follows:

20          1. By previous order, this matter was set for sentencing on March 30, 2015, at 10:00

21   a.m.

22          2. The parties agree and stipulate that Defendant requests this court to continue the

23   sentencing until April 27, 2015, at 10:00 a.m.

24          3. Additionally, the parties agree and stipulate, and request that the Court find the

25   following:

26                  a. The Defendant pled guilty on April 29, 2013. Ongoing negotiations have

27          been taking place between the Government and the Defendant. The parties anticipate

28          that by April 27, 2015, the required investigations and discovery will be completed.
                                                        1
                                 STIPULATION AND ORDER TO CONTINUE SENTENCING
                                          CASE NO.: 1:10-CR-00131-AWI
      Case 1:10-cr-00131-LJO Document 237 Filed 03/10/15 Page 2 of 2
 1               b. The parties request that Informal Objections be filed on April 6, 2015, and

 2            Formal Objections be filed on April 20, 2015.
 3                   c. The Government does not object to the continuances requested herein.

 4                                            Respectfully submitted,

 5   DATED:       March 9, 2015          By: /s/Anthony P. Capozzi
                                             ANTHONY P. CAPOZZI
 6                                           Attorney for Defendant JOSEPH NOLAN
 7

 8
     DATED:       March 9, 2015          By: /s/Karen A. Escobar
 9                                           KAREN A. ESCOBAR
                                             Assistant United States Attorney
10

11

12                                              ORDER
13            For reasons set forth above, the continuance requested by the parties is granted
14   for good cause.
15            IT IS ORDERED that the sentencing currently scheduled for March 30, 2015, at
16   10:00 a.m. is continued to April 27, 2015, at 10:00 a.m. and the Informal Objections
17   are due on April 6, 2015, and Formal Objections be filed on April 20, 2015.
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19   IT IS SO ORDERED.

20   Dated:    March 9, 2015
                                                 SENIOR DISTRICT JUDGE
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                               STIPULATION AND ORDER TO CONTINUE SENTENCING
                                        CASE NO.: 1:10-CR-00131-AWI
